            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 CR 38-6


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
JESSICA HOPE WELLS.                    )
                                       )
______________________________________ )

      THIS CAUSE came on to be heard and was heard before the undersigned

pursuant to a Motion for Bond Modification (#136) filed by Defendant’s attorney.

In the motion, Defendant’s counsel request that Defendant be released on terms and

conditions of pretrial release and contends that, pursuant to 18 U.S.C. § 3145(c),

there are exceptional circumstances why Defendant’s detention would not be

appropriate. After hearing evidence presented by Defendant and arguments of

counsel for Defendant and arguments of the Assistant United States Attorney and

the records in this cause, the Court makes the following findings:

      Findings.    On June 2, 2015 a bill of indictment (#1) was issued charging the

Defendant with conspiracy to manufacture mixture and substance containing a

detectable amount of methamphetamine, in violation of 21 U.S.C. § 846 and four

counts of possession of pseudoephedrine and knowing and having reasonable cause

to believe that that specific chemical would be used to manufacture

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methamphetamine in violation of 21 U.S.C. § 841(c)(2). In the bill of indictment, it

was described that the acts of Defendant and her co-defendants occurred between

February 2012 and April 27, 2012 and specifically, the acts of Defendant occurred

between March 27, 2012 and April 3, 2012.

      After the arrest of Defendant on June 2, 2015, Defendant was released by the

undersigned upon recommendation by the Assistant United States Attorney upon

terms and conditions of pretrial release (#22). On August 14, 2015 the undersigned

held an inquiry, pursuant to Rule 11 of the Federal Rules of Criminal Procedure and

accepted a plea of guilty of Defendant to count twenty-four of the bill of indictment

which charged her with possessing pseudoephedrine having reasonable cause to

believe that this chemical would be used to manufacture methamphetamine in

violation of 21 U.S.C. § 841(c)(2). After accepting the plea of guilty of Defendant,

the undersigned entered an Order (#135) detaining Defendant pursuant to 18 U.S.C.

§ 3143(a)(2). On August 20, 2015 Defendant filed a motion (#136) requesting she

be released based upon exceptional circumstances and pursuant to 18 U.S.C. §

3145(c ).

      The Pretrial Services Report in this matter shows that Defendant was arrested

in Cherokee County, NC on April 30, 2012 and charged with possession of a

schedule II controlled substance and simple possession of a schedule VI controlled

substance. The next day, on May 1, 2012, Defendant was charged with conspiracy
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to manufacture methamphetamine. All of these charges were dismissed without

leave on May 24, 2012. Defendant’s mother, Jean LeFeaver, testified that when the

state charges against Defendant were dismissed on May 24, 2012, she and Defendant

were advised that the criminal charges against Defendant were dismissed with

prejudice and would not be reinstated. When Defendant was arrested in June 2015,

Mrs. LeFeaver participated in a conversation that Defendant had with the arresting

officer. The arresting officer told Defendant that if Defendant would cooperate, she

would not receive any jail time.

      Mrs. LeFeaver testified that she and her husband reside in Murphy, NC.

Defendant came to reside with her mother and father in 2013 after the charges

against Defendant were dismissed. Thereafter, Defendant gave birth to a baby boy

on April 11, 2014.

      Mrs. LeFeaver testified that in 2012 the Defendant participated in inpatient

substance abuse treatment in Black Mountain, NC for methamphetamine abuse and

then later completed an outpatient program at Appalachian Community Services in

2013 for substance abuse. Mrs. LeFeaver described that her daughter had become a

different person. Her daughter is devoted to the care of her son and her daughter

now has a loving relationship with her mother and father. Mrs. LeFeaver is 71 years

old and is employed and her husband, Defendant’s father, is 74 years old and is in

questionable health. Defendant helps provide care for her father and Defendant
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provides all care for her minor child. If Defendant remains incarcerated Mrs.

LeFeaver will lose her employment because she will have to then provide all care

for her husband and the minor child.

      Defendant presented into evidence a letter from Michael T. Madren (Def.’s

Exhibit #1). In the letter, Mr. Madren describes that Defendant began attending

substance abuse outpatient at Appalachian Community Services on June 5, 2013 and

successfully completed 12 weeks of intensive outpatient treatment totaling 108 hours

of treatment and that Defendant was an active participate in the treatment process.

      Discussion. The motion filed by Defendant is based upon 18 U.S.C. §

3145(c). That statute provides as follows:

       (c) Appeal from a release or detention order.---

      An appeal from a release or detention order, or from a decision denying
      revocation or amendment of such an order, is governed by the
      provisions of section 1291 of title 28 and section 3731 of this title. The
      appeal shall be determined promptly. A person subject to detention
      pursuant to section 3143(a)(2) or (b)(2), and who meets the conditions
      of release set forth in section 3143(a)(1) or (b)(1), may be ordered
      released, under appropriate conditions, by the judicial officer, if it is
      clearly shown that there are exceptional reasons why such person’s
      detention would not be appropriate.

      In October 2009 United States District Judge Martin Reidinger assigned to the

undersigned the task of conducting exceptional circumstances determination in

criminal matters pending in this district. What constitutes exceptional circumstances

had been defined by Judge Reidinger in United States v.Vilaiphone, 2009 WL
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412958 (February 19, 2009 W.D.N.C.). In Vilaiphone, Judge Reidinger stated:

      Courts generally have defined “exceptional reasons” as circumstances
      which are “clearly out of the ordinary, uncommon, or rare.” See United
      States v. Larue, 478 F.3d 924, 926 (8th Cir. 2007) (finding defendant’s
      compliance with terms of pretrial release, lack of criminal record,
      payment of child support, and continued employment were not
      exceptional reasons warranting release); United States v. Lea, 360 F.3d
      401, 403 (2d Cir. 2004) (“Exceptional circumstances exist where there
      is ‘a unique combination of circumstances giving rise to situations that
      are out of the ordinary.’”) (quoting United States v. DiSomma, 951 F.2d
      494, 497 *2d Cir. 1991)). The fact that the Defendant has cooperated
      with the Government and has complied with the terms and conditions
      of his pretrial release do not constitute exceptional reasons warranting
      his continued release pending sentencing. See United States v. Little,
      485 F.3d 1210, 1211 (8th Cir. 2007) (“It is not exceptional to expect
      every defendant to timely appear in court and to obey the court’s order
      concerning pretrial conditions of release. Nor it is clearly out of the
      ordinary, uncommon or rare for defendants to cooperate in the
      investigation of their criminal acts.”). Similarly, the Defendant’s lack
      of a significant criminal history and his gainful employment, while
      commendable, do not rise to the level of “exceptional reasons.” See
      Lea, 360 F.3d at 403-04 (“There is nothing ‘exceptional about going to
      school, being employed, or being a first-time offender, either separately
      or in combination.”). Finally, while the Court is cognizant of the
      hardships that the Defendant’s detention will create for his immediate
      family, such hardships are common to nearly every case involving a
      term of imprisonment and thus do not qualify as “exceptional reasons”
      under § 3145(c). See United States v. Garcia, 340 F.3d 1013, 1022 (9th
      Cir. 2003) (“Hardships that commonly result from imprisonment do not
      meet the standard.”); United States v. Mahabir, 858 F.Supp 504, 508
      (D.Md. 1994)(“A defendant’s incarceration regularly creates
      difficulties for him and his family. Courts have found that such purely
      personal considerations do not constitute exceptional reasons within the
      meaning of Section 3145(c).”)

      The undersigned finds several exceptional circumstances exists in this case.

One particular circumstance arises in regard to the charges against Defendant.
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Although the Defendant’s criminal acts allegedly occurred in the spring of 2012, the

present charges in federal court were not brought against Defendant until over three

years later, in June 2015. No explanation has been given to the Court for this delay

despite requests from the Court for such explanation.

      Another exceptional circumstance is that Defendant was advised in 2012 that

the criminal charges in state court against her had been dismissed with prejudice.

When arrested, Defendant was told by law enforcement officers if she cooperated

Defendant would not receive an active sentence of confinement in prison. No

explanation has been provided as to why Defendant was given this information by

the arresting officer, especially in light of the fact that the charges against Defendant

appear to have a minimum period of incarceration as a required sentence.

      Between the time of the dismissal of the charges in state court in 2012 and

Defendant’s arrest, her life has changed substantially. In 2013, Defendant went to

reside with her mother and father and in April 2014 gave birth to a child. Since that

date, she has assisted in care for her father and total care for her minor child.

Testimony was presented that if Defendant remains incarcerated, Defendant’s

mother would have to resign from her job to provide care for Defendant’s father and

for the minor child.

      Another unusual circumstance that exists in this case is the Defendant’s

dedication to sobriety. From the evidence presented by Defendant, that being the
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letter of the counselor, Mr. Madren, and also the Defendant’s mother, it appears that

Defendant’s dedication to sobriety since 2013 has been exceptional.

      The Court finds that the above circumstances involving Defendant, the

dismissal of state charges against the Defendant and then three years later the

presentation of federal charges against Defendant, the circumstances regarding

Defendant’s care for her son, her father and her dedication to sobriety are “clearly

out of the ordinary, uncommon, or rare.” Those circumstances merit the continued

release of the Defendant on terms and conditions of presentence release pending

sentencing.

                                     ORDER

      IT IS, THEREFORE, ORDERED, that Motion for Bond Modification

(#136) is ALLOWED and Defendant will be released on terms and conditions of

presentence release pending further orders of the Court.


                                       Signed: October 13, 2015




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